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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

DAVID JAWORSKI, SARAH KROTH,       )
MAGGIE “MARS” ROBINSON, PATRICK    )
ROMANO,                            )
                                   )
     Plaintiffs,                   )              23-cv-2240
                                   )
     v.                            )
                                   )              Honorable Nancy L. Maldonado
CITY OF CHICAGO, SGT. JAMES        )
TRIANAFILLO, #264, LUIS LAURENZANA,)
#19637, DAVID FLOYD, #13262,       )              Magistrate Jeffrey T. Gilbert
LEONARD SHOSHI, #236, CHARLES      )
FLASTER, #15498, and               )
SUPERINTENTDENT BROWN              )
                                   )
     Defendants.                   )


           INITIAL STATUS REPORT FOR REASSIGNED CASE

  1. Nature of the Case

        a. Attorneys of Record for each party:

           For Plaintiff:

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           Janis M. Susler
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        For Defendants Trianafillo, Flaster, Floyd, Lurenzana, and
        Shoshi (“Defendant Officers”):

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     b. Federal Jurisdiction is properly invoked pursuant to the Civil Rights
        Act, 42 § 1983, 28 U.S.C. § § 1331, and 1343. Supplemental jurisdiction
        is invoked pursuant to 28 U.S.C. § 1367. Diversity jurisdiction is not at
        issue in this case.
     c. Plaintiffs have brought claims pursuant to 42 U.S.C. § 1983 for
        Excessive Force, Violation of the First Amendment, Violation of the
        Equal Protection Clause of the Fourteenth Amendment, Conspiracy to
        Deprive Plaintiff of Constitutional Rights, Unlawful Search and
        Seizure under the Fourth and Fourteenth Amendments, Failure to
        Intervene and Unlawful Policy and Practice. Additionally, Plaintiffs
        has brought state law claims for violations of the Illinois Constitution,
        assault, battery, conspiracy, respondeat superior, and indemnification
        pursuant to 735 ILCS 10/9-102. Defendants have not answered the
        Complaint but deny violating Plaintiffs’ constitutional or state law
        rights.
     d. Plaintiff seeks compensatory and punitive damages; reasonable
        attorneys’ fees, costs, and expenses pursuant to 42 § 1988; and any
        further relief this Court may deem appropriate and just.
     e. All defendants have been served.


2. Discovery and Pending Motions
     a. There are no motions currently pending.
     b. There is no discovery schedule set at this time.


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     c. The parties conducted preliminary discovery in Protesters in Support of
           Black Lives et al v. City of Chicago, et al, 20-cv-6851, for the limited
           purposes of identifying previously unidentified defendants. This
           included production of video, documents, and limited interrogatories.
           The parties have not yet exchanged initial disclosures and the vast
           majority of discovery still needs to be completed, including written
           discovery and depositions of the parties, and expert discovery.
     d. There have not yet been any substantive rulings issued in the case.
     e. Defendants state that it is premature for them to evaluate what
           motions they intend to file until Plaintiffs file a complaint specific to
           this action. The complaint docketed at Docket Entry 2 is the original
           complaint (out of five total) that Plaintiffs filed in case number 20-cv-
           6851, along with dozens of additional individuals who are not
           participating in this lawsuit. Now that case number 20-cv-6851 has
           been severed into 15 new cases, most of the allegations in the
           complaint docketed at Docket Entry 2 have nothing to do with the
           claims raised by Plaintiffs Jaworski, Kroth, Robinson, and Romano. As
           such, Defendants respectfully request that this Court order Plaintiffs
           to file an amended complaint specific to their claims, as Chief Judge
           Pallmeyer and Judge Durkin have done in the protest-related cases
           they were reassigned after the Executive Committee’s severance order.
           See Fouche v. Grossklas, No. 1:23-cv-2232 (Durkin, J.); Crosby v.
           Rodriguez, No. 1:23-cv-2236 (Pallmeyer, C.J.).
3. Trial
     a. Plaintiffs have demanded trial. Defendants will demand trial by jury.
     b. There is no trial date scheduled.
     c. The parties have not filed a pretrial order.
     d. The parties anticipate the trial to last approximately seven to ten days.




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   4. Settlement, Referrals, and Consent
         a. On February 3, 2021, Plaintiffs’ counsel provided a settlement demand
            on behalf of Plaintiffs and all plaintiffs in Protesters in Support of
            Black Lives v. City of Chicago, 20-cv-6851. Plaintiffs’ counsel intend to
            issue an updated demand on behalf of Plaintiffs.
         b. Prior to the severance of 20-cv-6851, discovery supervision was
            referred to Magistrate Judge Gilbert. Discovery supervision has not
            been referred to the Magistrate Judge specific to this matter and this
            case has not been referred to the Magistrate Judge for a settlement
            conference.
         c. The parties do not request a settlement conference at this time.
         d. The parties do not unanimously consent to proceeding before the
            Magistrate Judge.
   5. Other
         a. Plaintiffs’ claims were initially filed as part of Protesters in Support of
            Black Lives v. City of Chicago, 20-cv-6851, which included significantly
            more plaintiffs and defendants. Pursuant to Judge Coleman’s order
            dated April 6, 2023, that matter was severed into fifteen separate
            cases, including this matter before the Court. While a limited amount
            of the preliminary discovery conducted in 20-cv-6851 served the
            purposes of identifying defendants in this matter, the parties have yet
            to conduct discovery specific to Plaintiffs’ claims.



Date: April 28, 2023

                                               /s/ Brad J. Thomson
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